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                                   STATEMENT OF FACTS

        Your affiant, Beth Alvarez., is a Special Agent with the Federal Bureau of Investigation
(“FBI”) and is assigned to the Violent Crimes and Major Offender Squad in the San Francisco
Field Office. I am currently on a temporary assignment tasked with investigating criminal activity
in and around the Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by law
or by a government agency to engage in or supervise the prevention, detention, investigation, or
prosecution of a violation of federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of



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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

         Since the January 6 attack on the Capitol, FBI employees have been reviewing a large
amount of video footage from open-source databases, as well as MPD and USCP sources, to
identify suspects. During this review, an FBI employee observed a subject assaulting two USCP
officers on January 6, 2021 in and around the Lower West Terrace of the Capitol building. Body-
worn camera footage shows that at approximately 2:28pm, a crowd of violent rioters had
assembled near the media tower. Law enforcement officers from USCP and MPD had formed a
line of bike racks to act as a barrier against the crowd. Officers were standing watch behind this
line and fending off repeated attempts by the rioters to pull on the bike racks and assault the
officers. The rioters breached the line and swarmed the officers, successfully advancing toward
the first landing of the Lower West Terrace

        At approximately 2:30pm, the crowd of violent rioters breached the police line and
assaulted multiple officers. Around that time, a SUBJECT can be seen on body-worn camera
footage shoving a USCP Officer (Victim 1) to the ground while another rioter grabbed Victim 1’s
leg. The SUBJECT then appeared to kick Victim 1 as he lay on the ground. Other rioters continued
to assault Victim 1. The video showed that the SUBJECT who shoved Victim 1 to the ground was
wearing: (1) a green beanie with the American flag in dark print on the front of the beanie, (2) a
gray-and-blue neck gaiter-style striped mask, (3) blue jeans, (3) a dark jacket, and (4) a hooded
sweatshirt with green camouflage print. The following screenshots from the body-worn camera
depict the first assault and the SUBJECT’s outfit:




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       Approximately 30 seconds later, the SUBJECT can be seen and heard, still at the front of
the crowd, pointing and aggressively shouting, “Get out! Go!” multiple times to the officers:




        At approximately 2:34pm, as the crowd of violent rioters were advancing further on the
Lower West Terrace and cornering USCP and MPD officers, the SUBJECT was at the front of the
police line pointing at the officers. A USCP Officer (Victim 2) was standing and holding a police
shield as protection. The SUBJECT shoved Victim 2 to the ground. As Victim 2 was still on the


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ground, the crowd of violent rioters continued to advance and assault other officers. The following
screenshots depict this second assault:




       Approximately 30 seconds later, the SUBJECT picked up multiple USCP riot shields and
passed them back to other members of the violent riot crowd:



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        According to Victim 2, his right elbow hit the ground right at the area where his two
protective pads came together after the shove, causing excruciating pain at the time of impact.

        On or about April 5, 2021, this SUBJECT was included in a “Seeking Information” list
that the FBI posted to its website and social media pages requesting the public’s assistance in
identifying the individual. On or about April 28, 2021, FBI personnel observed a post on the public
Twitter account @SeditionHunters that contained photographs of the subject, some of which
showed his face without his mask pulled up:




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        On or about May 1, 2021, a witness whose identity is known to the FBI (Witness 1)
identified the SUBJECT as Minneapolis resident Brian MOCK based on a screenshot of a
Facebook post Witness 1 had seen. The screenshot shows multiple photos of MOCK in
Washington, DC wearing the above-described outfit. The photograph also shows MOCK and a
woman posing in front of the Minnesota pillar at the World War II Memorial in Washington, DC.
The Facebook post had the caption: “Before we went to the Capital [sic]… we did a little sight
seeing…” Witness 1 submitted the screenshot to the FBI:




       Using the screenshot and name Witness 1 provided, my colleagues and I were able to cross-
reference other tips that previously had not been linked to a known suspect. On or about January


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8, 2021, a tipster (Witness 2), whose identity is known to the FBI, submitted information. Witness
2 stated that MOCK’s girlfriend posted on her Facebook page about being involved in the siege of
the Capitol, including reportedly bragging about pulling the police barricades away for the crowd
to get in. Witness 2 also stated that MOCK bragged about getting pepper sprayed three times.
Witness 2 provided the following screenshot of a post apparently made by MOCK’s girlfriend.
The post, time-stamped 4:23pm on January 6, 2021, says “Teargassed 6 times, pepper sprayed,
and mustard gassed at the end. But we stayed true to being Patriots, marched to the Capital [sic]
and stormed the Frontline… no regrets… ashamed of the blue that harmed everyone there to stand
for the cause…”:




       Witness 2 also provided the screenshot of MOCK and his girlfriend at the Minnesota pillar
pictured above, but Witness 2’s screenshot confirmed that MOCK’s girlfriend had posted the
photos and had tagged Washington D.C. as the location, and tagged MOCK as a person in the
photo. Witness 2 also provided two screenshots of comments posted from what appears to be
MOCK’s account on Facebook:




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        Witness 2 also submitted another screenshot from MOCK’s girlfriend’s Facebook account.
This screenshot shows that someone commented “Pics or it didnt happen.” In response to the
comment, MOCK’s girlfriend posted what appears to either be a 55-second video or a screenshot
taken of a 55-second video. In the screenshot, MOCK’s girlfriend is wearing what appears to be
the same red baseball hat pictured in the World War II Memorial photograph. MOCK can be seen
in the frame as well. The one eye that is visible is reddened and appears irritated, which could be
the result of pepper spray or other chemical irritants.




        An anonymous tipster (Witness 3) also provided information to the FBI, writing that
MOCK was a “radical” that Witness 3 feared would participate in violent protests in Minnesota.
Witness 3 also wrote that MOCK and his girlfriend were at the “DC Capitol attack, did not enter
the Capitol but were actively removing fencing…they went to the Capitol to protest and both were
tear gassed.” Witness 3 further stated that MOCK “has a criminal history involving guns and seems
to be an extremist.” I have reviewed MOCK’s criminal history and I observed that MOCK does in
fact have a firearms-related arrest from 2009 that resulted in a 2010 conviction.


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        On or about January 10, 2021, an individual whose identity is known to the FBI (Witness
4) submitted an online tip through OPA and indicated that there were clips and videos posted on
Facebook (that were reportedly deleted later) of MOCK’s girlfriend and MOCK at the Capitol
during the riots. Witness 4 provided what appears to be the same photograph of MOCK and his
girlfriend at the World War II Memorial that was included above.

         Another anonymous tipster (Witness 5) submitted an online tip naming MOCK as a
participant in the riots and including a video from Facebook. Witness 5 also provided MOCK’s
date of birth, which I confirmed matches his date of birth in official records. According to an
unofficial transcription of the video, MOCK, while located on or near what appears to be the Lower
West Terrace area of the Capitol, is heard stating something like “Do you wish to climb the side
of this thing?” and “I got maced three times.” During another part of the video, where MOCK and
his girlfriend are both in the frame, MOCK’s girlfriend states (while smiling) “We just heard Brian
made the news” and “I was pulling the gates away after Brian removed them.” The following
photographs are screenshots from the video:




        Another tip received on or about January 13 by a tipster whose identity is known to the
FBI (Witness 6) provided the name of MOCK’s girlfriend and stated that MOCK and his girlfriend
flew from Minnesota to the Capitol and “were part of the group of people ripping away barriers”
and that MOCK’s girlfriend “has videos all over her Facebook as proof.” I later learned from
another source that MOCK drove to Washington, DC and did not fly, as Witness 6 stated.


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       Another tip was received on or about January 8, 2021, from a tipster whose identity is
known to the FBI, who stated that MOCK “went to DC specifically for this. He is home bragging
about beating up cops and destroying property in the capital. His name is Brian Christopher Mock.”
FBI employees have also spoken to people who know MOCK well. One of those people stated
that MOCK bragged that he “beat the shit” out of a police officer after returning home.

        Finally, I have spoken with at least two witnesses who know MOCK personally (Witness
7 and Witness 8). Both have known him for several years. Witness 7 stated that MOCK “went to
DC specifically for this. He is home bragging about beating up cops and destroying property in
the capital. His name is Brian Christopher Mock.” Witness 7 reviewed photographs of MOCK on
the FBI’s “Capitol Violence” website, including the photos on the “seeking information” bulletin.
Witness 7 confirmed that he/she recognized MOCK as the man pictured in the photos. According
to Witness 8, MOCK told Witness 8 he “beat the shit” out of a police officer.” Witness 8 showed
me text messages between Witness 8 and MOCK, where MOCK admits to his participation in the
riots.
        I am currently aware of at least three other tips regarding the identity of the person pictured
in the original photograph that went out in the “Seeking Information” bulletin. These tips identified
three separate men, none of whom are MOCK. The tipsters believed these men resembled the man
pictured in the photograph. The tips were investigated by, among other actions, querying state
driver’s license information, criminal history convictions, and publicly available social media
profiles. These investigatory steps did not reveal any evidence that the people identified in the
anonymous tips had any involvement in the Capitol riots.

        In May 2021, this Court authorized a search warrant for MOCK’s Facebook account. The
returns from Facebook show numerous conversations about MOCK’s intentions to attend the riot
and participate in violence. For example, MOCK posted the following comment after the riot:




       Prior to the riot, MOCK posted the following comment:




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        Based on the foregoing, your affiant submits there is probable cause to believe that
BRIAN CHRISTOPHER MOCK violated 18 U.S.C. § 111(a)(1), which makes it a crime to
forcibly assault, resist, oppose, impede, intimidate, or interfere with any person designated in
section 1114 of Title 18 while engaged in or on account of the performance of official duties.
Persons designated within section 1114 of Title 18 include any person assisting an officer or
employee of the United States in the performance of their official duties and where the acts in
violation of this section involve physical contact with the victim and the intent to commit
another felony.

         Your affiant submits that there is probable cause to believe that BRIAN
CHRISTOPHER MOCK violated 18 U.S.C. §§ 1752(a)(1), and (2) which make it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes
or disrupts the orderly conduct of Government business or official functions. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the
Secret Service, including the Vice President, is or will be temporarily visiting; or any building
or grounds so restricted in conjunction with an event designated as a special event of national
significance.

        Your affiant further submits there is also probable cause to believe that BRIAN
CHRISTOPHER MOCK violated 18 U.S.C. § 231(a)(3), which makes it unlawful to commit or
attempt to commit any act to obstruct, impede, or interfere with any fireman or law enforcement
officer lawfully engaged in the lawful performance of his official duties incident to and during
the commission of a civil disorder which in any way or degree obstructs, delays, or adversely
affects commerce or the movement of any article or commodity in commerce or the conduct or
performance of any federally protected function. For purposes of Section 231 of Title 18, a

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federally protected function means any function, operation, or action carried out, under the laws
of the United States, by any department, agency, or instrumentality of the United States or by an
officer or employee thereof. This includes the Joint Session of Congress where the Senate and
House count Electoral College votes.

      Finally, your affiant submits that there is also probable cause to believe that BRIAN
CHRISTOPHER MOCK violated 40 U.S.C. § 5104(e)(2), which makes it a crime to willfully and
knowingly (F) engage in an act of physical violence in the Grounds or any of the Capitol Buildings.




                                                     _________________________________
                                                     Beth Alvarez
                                                     Special Agent
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 10th day of June 2021.
                                                                         2021.06.10
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                                                     ___________________________________
                                                     ROBIN M. MERIWEATHER
                                                     UNITED STATES MAGISTRATE JUDGE




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